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                            No. 25-807

    IN THE UNITED STATES COURT OF APPEALS
            FOR THE NINTH CIRCUIT


              STATE OF WASHINGTON, et al.,
                             Plaintiffs – Appellees,
                          v.

                  DONALD J. TRUMP, et al.,
                               Defendants – Appellants.




    On Appeal from the United States District Court
        for the Western District of Washington,
                      No. 2:25-cv-127

 AMICUS CURIAE BRIEF OF FORMER UNITED STATES
ATTORNEY GENERAL EDWIN MEESE III IN SUPPORT OF
           DEFENDANTS-APPELLANTS




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                    INTERESTS OF AMICUS CURIAE1

      The Honorable Edwin Meese III, former Attorney General of the

United States, submits this amicus curiae brief in support of Executive

Order 14160, “Protecting the Meaning and Value of American

Citizenship.” His experience in shaping and interpreting federal law as

the 75th Attorney General of the United States provides him with a

unique perspective on the legal and historical foundations of American

citizenship.

      His extensive work in the Department of Justice and his

contributions to constitutional discourse underscore his commitment to

ensuring that laws are faithfully applied in accordance with their

historical meaning.

      Attorney General Meese has been actively involved in legal and

policy discussions concerning immigration, national security, and the

constitutional structure of government. His scholarship and public

service have emphasized the importance of maintaining the


1 Amicus curiae sought consent from the parties for the filing of this brief. Counsel

for the parties have consented. No counsel for a party authored this brief in whole
or in part, nor did any person or entity, other than amicus curiae and its counsel,
make a monetary contribution intended to fund the preparation or submission of
this brief.
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constitutional balance of powers, ensuring that executive authority is

exercised within its proper scope, and upholding the nation’s

sovereignty. In submitting this amicus brief, Attorney General Meese

aims to provide the Court with a perspective grounded in legal history,

constitutional originalism, and the principles of self-governance.

                      SUMMARY OF ARGUMENT

     Executive Order 14160 correctly implements the original meaning

of the Fourteenth Amendment’s Citizenship Clause. The text and

legislative history of the Fourteenth Amendment demonstrate that

birthright citizenship was intended to apply only to individuals who are

fully subject to the political jurisdiction of the United States. This

excludes children born to parents who are neither citizens nor lawful

permanent residents. The Supreme Court’s precedents support this

interpretation. The government’s prior policies reflecting a broader

interpretation of birthright citizenship, even if longstanding and

commonly accepted, are inconsistent with the Constitution’s text and

original meaning. Upholding the Executive Order would reinforce the

value of American citizenship and prevent further erosion of the

political and legal principles enshrined in the Fourteenth Amendment.
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                                ARGUMENT

  I.     The Executive Order Adheres to the Original Meaning of
         the Citizenship Clause of the Fourteenth Amendment.

       The Citizenship Clause of the Fourteenth Amendment states: “All

persons born…in the United States, and subject to the jurisdiction

thereof, are citizens of the United States.” U.S. CONST. amend. XIV, §

1. This language guarantees citizenship only to individuals “subject to

the jurisdiction” of the United States—those who owe political

allegiance to the United States of America. The framers of the

Fourteenth Amendment intentionally included the qualifying phrase

“subject to the jurisdiction thereof” to limit the scope of birthright

citizenship. This careful wording reflects the framers’ intention to

distinguish between individuals who merely reside in the United States

and those who are fully integrated into the nation’s political and legal

framework.

       A. The Civil Rights Act of 1866 Clarifies the Intent of the
          Citizenship Clause.

       The Citizenship Clause was drafted to constitutionalize the Civil

Rights Act of 1866, which provided that “all persons born in the United

States, and not subject to any foreign power,” are citizens. Civil Rights
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Act of 1866, ch. 31, 14 Stat. 27 (1866). The Act explicitly excluded

individuals who owed allegiance to a foreign power, such as children of

diplomats or tribally affiliated Native Americans. By incorporating this

language into the Constitution, Congress sought to ensure that

citizenship would be reserved for those who had a meaningful and

permanent connection to the United States. Congress specifically

considered (and outright rejected) the idea that it could or should make

citizens of the U.S.-born children of “persons temporarily resident in it”

who only owe a qualified or minimal allegiance. Congressional Globe,

39th Cong., 1st Sess. 572 (1866) (statement of Sen. Trumbull).

     The framers of the Fourteenth Amendment understood that the

Civil Rights Act’s definition of citizenship was not universally

applicable and intentionally preserved these limitations in the

constitutional text. See Swearer, The Citizenship Clause’s Original

Meaning and What It Means Today, HERITAGE FOUNDATION,

https://www.heritage.org/immigration/report/the-citizenship-clauses-

original-meaning-and-what-it-means-today.

     The Civil Rights Act of 1866 was drafted to address the status of

newly freed slaves and ensure that they received the full rights of
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American citizenship. Id. at ¶ 10. In addition to acting as an

enforcement mechanism for the Thirteenth Amendment, “the act served

as Congress’s first effort to undo Dred Scott.” Id.

     Senator Lyman Trumbull, also a sponsor of the Civil Rights Act of

1866, emphasized that the phrase in the Fourteenth Amendment

legislation “not subject to any foreign power” was crucial in defining

who was entitled to birthright citizenship. This phrase was meant to

exclude individuals who, in contrast to the U.S.-born descendants of

African slaves, retained meaningful political allegiance to another

sovereign entity. Trumbull explained that “subject to the jurisdiction”

meant “not owing allegiance to anyone else.” Congressional Globe, 39th

Cong., 1st Sess., 2893 (May 30, 1866). Senator Jacob Howard who

introduced the very language of the jurisdiction clause of the

Fourteenth Amendment on the Senate floor said it should be construed

to mean “a full and complete jurisdiction,” “the same jurisdiction that in

extent and quality as applies to every citizen of the United States now.”

Congressional Globe, 39th Cong., 1st Sess., 2890 (May 30, 1866).

     This limiting approach was consistent with existing legal

principles governing nationality and allegiance. Id. The framers
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understood that political jurisdiction—not mere territorial presence—

was the determining factor in conferring citizenship. Id at ¶ 6.

     B. Legislative Debates Demonstrate That Birthright
        Citizenship Was Not Universal.

     The legislative debates surrounding the Fourteenth Amendment

confirm that Congress did not intend to grant citizenship to anyone

simply because they were born on American soil. Lawmakers

emphasized the importance of ensuring that citizenship would be

conferred only on individuals who, irrespective of their race, were fully

subject to the political jurisdiction of the United States. For example,

Senator Lyman Trumbull, a key architect of the Amendment, explained

that “subject to the jurisdiction thereof” meant “not owing allegiance to

anybody else.” Hans von Spakovsky, Birthright Citizenship, A

Fundamental Misunderstanding

of the 14th Amendment, at ¶ 5,

https://www.foxnews.com/opinion/birthright-citizenship-a-fundamental-

misunderstanding-of-the-14th-amendment. Similarly, Senator Jacob

Howard, a proponent of the Fourteenth Amendments stated that the

clause would exclude “persons born in the United States who are

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foreigners, aliens, who belong to the families of ambassadors or foreign

ministers.” Cong. Globe, 39th Cong., 1st Sess. 2890 (1866) (statement of

Sen. Howard). Additionally, prominent member of the Joint Committee

on Reconstruction Senator George Henry Williams noted, “[i]n one

sense, all persons born within the geographical limits of the United

States are subject to the jurisdiction of the United States, but they are

not subject to the jurisdiction of the United States in every sense.” Id. at

2897 (Statement of Sen. Williams). He also added that the phrase

“subject to the Jurisdiction of the United States” must mean “fully and

completely subject to the jurisdiction of the United States. Id.

     Without question, the authors of the Fourteenth Amendment,

believed the grant of citizenship at birth had limits. The question

before this court is not whether limits exist to birthright citizenship, but

rather how far the limits extend.

     The debates in Congress surrounding the Fourteenth Amendment

also reveal a broad consensus that the jurisdiction requirement was not

meant to reach transient populations and individuals whose legal ties to

the United States were tenuous. These limits not only included children

of foreign diplomats, members of Native American tribes (who at the
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time were considered to be under the jurisdiction of their sovereign

tribal governments), but also, children of foreign nationals who were

present in the United States without lawful status. As one scholar

writing two decades after Wong Kim Ark conceded, the Court had not

decided the issue of citizenship for U.S.-born children of “sojourners or

transients in this country” and such a grant of citizenship would be at

odds with the conclusions of renowned scholars. Swearer, supra, at ¶ 72

(citing Richard W. Flournoy, Jr., Dual Nationality and Election, 30 Yale

L. J. 545, 552 (1921)).

     Congress’s deliberate exclusion of certain groups from birthright

citizenship reflected their understanding of jurisdiction. The framers

recognized that “territorial” jurisdiction—the obligation to obey

American laws while present in the United States —was insufficient to

confer citizenship. Instead, they focused on “political” jurisdiction,

which requires a complete and enduring allegiance to the United States.

Id. at ¶ 45. This distinction between territorial jurisdiction and political

jurisdiction is critical to understanding the original meaning of the

Citizenship Clause and its application to modern questions of birthright

citizenship.
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         The principle of allegiance as a prerequisite for citizenship was a

well-established concept in 19th-century legal thought. See Charles J.

Patrick, Decoding the Fourteenth Amendment’s Citizenship Clause:

Unlawful Immigrants, Allegiance, Personal Subjection, and the Law, 51

Washburn Law J. 211 (2011). The framers of the Fourteenth

Amendment were well aware of these legal traditions and crafted the

Citizenship Clause to reflect this fundamental principle. Their intent

was to prevent the automatic grant of citizenship to individuals who

lacked the requisite allegiance to the United States.

         This historical context supports the Executive Order. The framers’

intent was clear: citizenship should be granted only to individuals who

are fully and exclusively subject to the political jurisdiction of the

United States.

   II.     Birthright Citizenship Requires Full Political
           Jurisdiction.

         A. Territorial vs. Political Jurisdiction

         Proponents of universal birthright citizenship often conflate

territorial jurisdiction with political jurisdiction. Territorial jurisdiction

refers to the authority of a government to enforce its laws within its

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borders, which applies to all individuals present in the country,

including foreign nationals. Political jurisdiction, on the other hand,

requires a deeper connection to the nation—an allegiance that signifies

full membership in the political community. The framers of the

Fourteenth Amendment understood this distinction and intentionally

limited the Citizenship Clause to individuals who were fully subject to

the United States’ political jurisdiction. See Swearer, supra.

     The distinction between territorial and political jurisdiction is

deeply rooted in American legal history. As Senator Lyman Trumbull

explained during the debates on the Fourteenth Amendment, the term

“subject to the jurisdiction thereof” was intended to exclude individuals

who owed allegiance to another sovereign power. Cong. Globe, 39th

Cong., 1st Sess. 2890 (1866) (statement of Sen. Howard). This principle

was reflected in the Civil Rights Act of 1866, which granted citizenship

only to individuals “not subject to any foreign power.” Civil Rights Act

of 1866, ch. 31, 14 Stat. 27 (1866). This legislative history supports the

reading of the Fourteenth Amendment that mere presence in the

United States does not automatically confer citizenship; rather, full

political allegiance is required.
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     Children born to foreign nationals who are in the United States

temporarily or unlawfully are not fully subject to the political

jurisdiction of the United States. These individuals remain under the

jurisdiction of their parents’ home countries and owe allegiance to

foreign powers. Eventually, they are supposed to depart the United

States. As such, they do not meet the constitutional requirements for

birthright citizenship. See von Spakovsky, supra. This interpretation

aligns with the original understanding of the Citizenship Clause and

ensures that citizenship remains a meaningful and exclusive status.

     The Supreme Court has historically recognized the importance of

political jurisdiction in determining citizenship. In Elk v. Wilkins, the

Court ruled that Native Americans born within U.S. territory but owing

allegiance to their tribal governments were not automatically granted

citizenship under the Fourteenth Amendment. Elk v. Wilkins, 112 U.S.

94, 122-23 (1884). This decision reaffirmed that territorial presence

alone was insufficient. Full subjection to United States political

jurisdiction was necessary. Id.




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     B. Historical Exclusion from Birthright Citizenship

     The historical exclusions from birthright citizenship illustrate the

importance of political jurisdiction. For example, children of foreign

diplomats born in the United States have never been considered United

States citizens because they remain subject to the jurisdiction of their

home countries. This principle is in both domestic law and international

legal norms. For example, under the Vienna Convention on Diplomatic

Relations, diplomatic personnel are considered agents of their home

countries and are not legally subject to the full jurisdiction of their host

nations. Vienna Convention on Diplomatic Relations, Apr. 18, 1961, 23

U.S.T. 3227.

     Similarly, tribally affiliated Native Americans were excluded from

birthright citizenship until the passage of the Indian Citizenship Act in

1924. Before this legislation, Native Americans were recognized as

members of sovereign tribal nations and not fully subject to United

States political jurisdiction. The Supreme Court’s ruling in Elk v.

Wilkins confirmed this principle, holding that Native Americans who

maintained tribal ties were not automatically entitled to citizenship.

Elk v. Wilkins, 112 U.S. at 102. The eventual extension of citizenship
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through legislative action, rather than constitutional mandate, supports

that the Citizenship Clause was not understood to provide absolute

birthright citizenship, but instead had limits.

     The exclusion of children born to unauthorized aliens is consistent

with this historical understanding. Like foreign diplomats and

temporary visitors, unauthorized aliens remain subject to the political

jurisdiction of their home countries. Their presence in the United States

does not signify a complete severance of allegiance to their countries of

origin. In fact, allegiance was often by some sovereigns seen as

perpetual, meaning that “it could not be discharged without the consent

of the sovereign, regardless of whether a person swore allegiance to

another sovereign or left the kingdom permanently.” Swearer, supra, at

¶ 57. As such, their children do not qualify for birthright citizenship

under the original meaning of the Fourteenth Amendment.

     The historical exclusions from birthright citizenship demonstrate

that political jurisdiction is a prerequisite before birthright citizenship

may automatically attach.




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  III. Supreme Court Precedent Does Not Support Universal
       Birthright Citizenship.

     The Supreme Court has never actually interpreted the Citizenship

Clause of the Fourteenth Amendment in a manner that supports the

notion of universal birthright citizenship for aliens in the United States

without a legal presence. This is commonly misunderstood. Early Court

decisions emphasize the importance of political jurisdiction and

allegiance, underscoring that mere birth on United States soil does not

automatically confer citizenship. While some decisions, particularly

United States v. Wong Kim Ark, 169 U.S. 649 (1898), are thought by

some to support a broader interpretation, a careful examination reveals

the question of whether or not to extend citizenship to the children of

individuals who are unlawfully present remains decidedly undecided by

the Court. The Executive Order more closely aligns with the original

meaning of the Citizenship Clause and is consistent with Supreme

Court precedent that recognizes the limitations of birthright

citizenship.




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     A. The Slaughterhouse Cases and Elk v. Wilkins

     The Supreme Court’s earliest interpretations of the Citizenship

Clause support that birthright citizenship has limits and was never

intended to be universal. In The Slaughter-House Cases, 83 U.S. 36

(1872), the Court acknowledged that the phrase “subject to the

jurisdiction thereof” was a limiting qualifier designed to exclude certain

individuals from automatic citizenship. The Court specifically noted

that birthright citizenship did not apply to “children of ministers,

consuls, and citizens or subjects of foreign States born within the

United States.” Id. at 73.

     This textual limit was further explored in Elk v. Wilkins. At issue

was the question of whether a Native American born within United

States territory was a citizen under the Fourteenth Amendment. Elk v.

Wilkins, 112 U.S. at 98 The Court ruled that Native Americans who

maintained allegiance to their tribal nations were not “subject to the

jurisdiction” of the United States in the manner required for birthright

citizenship. Id. at 102. The Court held that a Native American still

holding allegiance to the tribe is not automatically a United States

citizen. Id. at 109. The Court emphasized that mere territorial presence
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was insufficient. Rather, full political jurisdiction and allegiance to the

United States were necessary prerequisites for citizenship. Id. at 101–

02.

      The reasoning in Elk v. Wilkins makes clear that the Citizenship

Clause has limits, even for those born on American soil. If one retains

allegiance to a sovereign other that the United States, birthright

citizenship will not attach.

      B. Longstanding Misinterpretation of Wong Kim Ark

      The conventional wisdom, accepted over decades, is that Wong

Kim Ark supports absolute birthright citizenship to everyone born in

the United States. The holding in this case does not go as far as the

conventional wisdom would have you believe. And no matter how long

a mistaken interpretation of a Supreme Court case has been around, its

longevity does not make it any less mistaken. This case addressed a

specific and narrow legal question: whether a child born in the United

States to lawful permanent residents of Chinese descent was entitled to

citizenship under the Fourteenth Amendment. It did not, despite the

conventional wisdom over decades, reach the question whether children

born to parents illegally present in the United States were entitled to
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citizenship under the Fourteenth Amendment. Put another way, it did

not reach the question of whether those not subject to the political

jurisdiction were entitled to birthright citizenship. The Court ruled in

favor of Wong Kim Ark, concluding that the children of lawful

permanent residents who are “domiciled” in the United States are

entitled to birthright citizenship. Id. at 693. The case does not stand for

the proposition the plaintiffs wish it did.

     That is no surprise because the Court’s actual decision in Wong

Kim Ark is consistent with the common understanding of international

law and English common law, namely that citizenship to individuals

born within the sovereign’s territory was limited in scope and not

absolute. Id. at 655–56.

     Critically, Wong Kim Ark did not address the question of whether

children born to individuals who are unlawfully present in the United

States qualify for birthright citizenship, no matter how many

newspapers or television reporters say otherwise. The parents of Wong

Kim Ark were lawful permanent residents, meaning they had a

recognized and legitimate presence within the country. See Wong Kim

Ark, 169 U.S. at 653. The Court’s holding was limited to the specific
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facts of the case and should not be read as extending citizenship to the

children of foreign nationals who have no legal status in the United

States. Swearer, supra, at ¶ 61-66. A mistaken interpretation of a 127-

year-old case is still a mistaken interpretation.2

      C. Historical and Legal Consensus Post-Wong Kim Ark.

      So where did the mistaken interpretation of the Fourteenth

Amendment come from? For decades after Wong Kim Ark, the

prevailing legal and academic consensus had it correct, that the

Citizenship Clause applied only to the children of individuals who were

lawfully present and permanently domiciled in the United States. See

Swearer, supra, at ¶ 66. The federal government long recognized that

birthright citizenship was not a blanket entitlement for all individuals

born on American soil.

      This view remained largely unchallenged until the latter half of

the twentieth century, when administrative policy, rather than judicial

precedent or constitutional amendment, expanded the practice of


2 The District Court points to other court precedents to support its interpretation of

the Citizenship Clause. The cases that the District Court relied upon are not
relevant here, as they were not decided on the same issue presented in this case.
Racial discrimination of Japanese and Chinese Americans were the prevailing
factors in both cases, not an interpretation of the Citizenship Clause. ER-12.
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granting citizenship to virtually all U.S.-born children. Swearer, supra,

at 66. It is the executive branch that has misinterpreted the scope of the

Fourteenth Amendment and effectuating statutes. The State

Department “erroneously interpreted that statute to provide passports

to anyone born in the United States, regardless of whether their

parents are here illegally and regardless of whether the applicant meets

the requirement of being ‘subject to the jurisdiction of the United

States.” See Hans von Spakovsky, supra, at ¶ 12. And thus the

conventional wisdom that anyone born in the United States is a citizen

was born. “Accordingly, birthright citizenship has been implemented by

executive fiat, not because it is required by federal law or the

Constitution.” Id.

     Legal scholars and jurists have continued to challenge this

mistaken and overbroad interpretation of Wong Kim Ark, arguing that

it represents a departure from the original meaning of the Fourteenth

Amendment. See Hans von Spakovsky, supra. The current practice of

granting automatic citizenship to the children of individuals who are

unlawfully present in the United States is inconsistent with both the


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historical understanding of the Citizenship Clause and the Supreme

Court’s jurisprudence.

  IV.   The Executive Order Preserves the Integrity of
        American Citizenship

     Executive Order 14160 represents a constitutionally grounded

step toward restoring the original understanding of the Fourteenth

Amendment’s Citizenship Clause. By clarifying that birthright

citizenship applies only to children born to American citizens and lawful

permanent residents, the Executive Order more closely aligns with the

original intent of the framers and ensures that citizenship remains a

meaningful and exclusive status.

     American citizenship is one of the most significant legal and

political statuses that the nation confers, entailing not only

fundamental rights and privileges but also profound responsibilities

and allegiance. The Constitution’s careful limitations on birthright

citizenship reflect an understanding that citizenship should be reserved

for those who have a genuine, enduring, and exclusive connection to the

United States that comports with the Constitution. Extending

citizenship to individuals who lack this meaningful connection

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undermines the principles of sovereignty, national identity, and self-

governance.

     Unrestricted birthright citizenship has significant consequences

for national sovereignty, particularly in the context of immigration

policy. An overly broad and mistaken interpretation of the Citizenship

Clause has created significant intrusions into American sovereignty.

For example, the mistaken interpretation has given rise to “birth

tourism,” wherein foreign nationals deliberately travel to the United

States to give birth so their children can obtain citizenship, despite

lacking any genuine connection to the country. See, Swearer, The

Political Case for Confining Birthright Citizenship to Its Original

Meaning, HERITAGE FOUNDATION, https://www.heritage.org/the-

constitution/report/the-political-case-confining-birthright-citizenship-

its-original-meaning. Reports indicate that thousands of birth tourists

enter the United States annually for this sole purpose. See Jon Freer,

Birthright Citizenship in the United States: A Global Comparison,

CENTER FOR IMMIGRATION STUDIES,

https://cis.org/Report/Birthright-Citizenship-United-States.


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                                CONCLUSION

     The Constitution’s text, structure, and history provide guidance on

the scope of birthright citizenship. The Executive Order is more

consistent with a correct understanding of the Fourteenth Amendment

and affiliated jurisprudence. The Fourteenth Amendment’s Citizenship

Clause states that “all persons born or naturalized in the United States,

and subject to the jurisdiction thereof, are citizens of the United States.”

U.S. CONST. amend. XIV, § 1. The phrase “subject to the jurisdiction

thereof” must be understood to mean complete political jurisdiction—

that is, exclusive allegiance to the United States. This interpretation is

consistent with the language of the Civil Rights Act of 1866, which

conferred citizenship only upon those “not subject to any foreign power.”

14 Stat. 27.

     The Supreme Court’s early decisions affirm this understanding. In

The Slaughter-House Cases, the Court stated that “subject to the

jurisdiction thereof” excludes “children of ministers, consuls, and

citizens or subjects of foreign states born within the United States.” The

Slaughter-House Cases, 83 U.S. at 73.


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     Beyond its constitutional basis, the Executive Order serves an

essential function in preserving the significance of American

citizenship. Citizenship entails not only legal rights but also civic

duties, such as allegiance to the nation, participation in democratic

governance, and adherence to U.S. laws. The automatic granting of

citizenship to individuals with no meaningful connection to the country

dilutes these responsibilities and weakens the social contract between

citizens and their government.

     America’s grant of citizenship should align more with other

nations such as France, Germany, and Japan, that do not grant

automatic birthright citizenship. See Jon Freer, Birthright Citizenship

in the United States: A Global Comparison. The current practice of

conferring citizenship based solely on birth location is an anomaly that

is inconsistent with both historical and global norms. Birthright

citizenship to aliens present illegally in the United States has no

support in the jurisprudence of the United States Supreme Court. The

Executive Order corrects mistakes and reinforces the integrity of

American citizenship.


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                                          Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limits of Fed. R. App. P.

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                               /s/ Joseph M. Nixon
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                     CERTIFICATE OF SERVICE

     On March 13, 2025, I filed an electronic copy of this brief with the

Clerk of the Ninth Circuit using the Court’s electronic-filing system and

that service on all registered counsel will be accomplished via the

court’s electronic service system.

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